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                                   UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF PUERTO RICO

   -------------------------------------------------------------x
   In re:                                                           PROMESA
                                                                    Title III
   THE FINANCIAL OVERSIGHT AND
   MANAGEMENT BOARD FOR PUERTO RICO,
                                                                    No. 17 BK 3283-LTS
            as representative of
                                                                    (Jointly Administered)
   THE COMMONWEALTH OF PUERTO RICO, et al.

                                     Debtors. 1
   -------------------------------------------------------------x
                                       CERTIFICATE OF SERVICE

           I, Natasha Otton, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
  the solicitation, notice, and claims agent for the Debtors in the above-captioned cases under Title
  III of the Puerto Rico Oversight, Management, and Economic Stability Act (PROMESA).

         On June 16, 2021, at my direction and under my supervision, employees of Prime Clerk
  caused the following documents to be served by the method set forth on the Master Service List
  attached hereto as Exhibit A:

      •     Notice of Filing Spanish Translation of Exhibit N (Best Interests Test Reports) to
            Disclosure Statement for the Third Amened Title III Joint Plan of Adjustment of the
            Commonwealth of Puerto Rico, et al. [Docket No. 17039]

      •     Informative Motion of the Financial Oversight and Management Board for Puerto Rico
            Regarding Statements of Ambac Assurance Corporation Concerning Milliman Actuarial
            Reports [Docket No. 17043]

  1 The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the

  last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
  Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal Tax
  ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No. 17 BK
  3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and Transportation
  Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808);
  (iv) Employees Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
  (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); and (v) Puerto Rico
  Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four Digits of Federal
  Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-
  5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy
  Case numbers due to software limitations).
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  Dated: June 21, 2021
                                                                        /s/ Natasha Otton
                                                                        Natasha Otton
  State of New York
  County of New York

  Subscribed and sworn (or affirmed) to me on June 21, 2021, by Natasha Otton, proved to me on
  the bases of satisfactory evidence to be the person who executed this affidavit.

  /s/ JAMES A. MAPPLETHORPE
  Notary Public, State of New York
  No. 01MA6370846
  Qualified in New York County
  Commission Expires February 12, 2022




                                                2                                    SRF 54511
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                                    Exhibit A
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                                                                                                                                        Exhibit A
                                                                                                                                    Master Service List
                                                                                                                                 Served as set forth below

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                                                                                                                                  Exhibit A
                                                                                                                              Master Service List
                                                                                                                           Served as set forth below

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                                                                                                                                Master Service List
                                                                                                                             Served as set forth below

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Union de Medicos de la Corporacion del Fondo del Seguro del Estado Corp.,
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                                                                                                                               Exhibit A
                                                                                                                           Master Service List
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                                    DESCRIPTION                                                        NAME                                           ADDRESS                                             EMAIL                 METHOD OF SERVICE



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Eléctrica, Union de Empleados de la Corporacion del Fondo del Seguro del Estado,
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Union de Medicos de la Corporacion del Fondo del Seguro del Estado Corp.,
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                                                                                                                                  Master Service List
                                                                                                                               Served as set forth below

                                    DESCRIPTION                                                         NAME                                                   ADDRESS                                                  EMAIL                   METHOD OF SERVICE
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Vázquez, Joseph Negrón Vázquez, and the Succession of Armando Negrón
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Janisse Negrón Santana, Rey Reyes Reyes, Ruth Rosado Berrios by herself and
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Credit Union, Carmen Lydia Ríos Arroyo, Pablo Juan Ríos Arroyo, Elena Marie
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Puerto Rico Fixed Income Fund III, Inc. Puerto Rico Fixed Income Fund IV, Inc.
Puerto Rico Fixed Income Fund V, Inc. Puerto Rico GNMA & US Government
Target Maturity Fund, Inc. Puerto Rico Mortgage-Backed & US Government
Securities Fund, Inc. Tax-Free Puerto Rico Target Maturity Fund, Inc. Tax-Free
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                                                                                                                                   Master Service List
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